    Case: 3:25-cv-00078-jdp             Document #: 29-3                Filed: 03/19/25           Page 1 of 2


From:           Akiva Cohen
To:             Andrew Brettler; Thomas Neville
Cc:             Dylan Schmeyer; Lane Haygood; mjelenchick@nprclaw.com; michael@denvertriallawyers.com; Stephen E. Kravit;
                litigation staff; Brian T. Fahl; Gaiman; Jake Camara; Kai Alblinger
Subject:        Re: Pavlovich v. Gaiman, W.D. Wis. Case No. 3:25-cv-00078-jdp
Date:           Tuesday, March 18, 2025 12:08:23 PM



Andrew,

We'll have a formal letter response back to you shortly. But I note that you did not respond on
either our extension request or our request that you agree to shorten the safe harbor time. And,
relatedly, we need a two week extension regardless since your motion has required us to
engage a New Zealand expert to detail all the errors and mistatements of New Zealand law in
your filing. Can you please let me know by noon tomorrow whether you will give us that
extension as a normal courtesy, since if you won't we will need to make an opposed motion for
an extension?

Separately: I assume Gaiman@kravitlaw.com is a distribution list - if we include it on future
emails, do we need to individually add Brian and Stephen? Please let me know - and please
include our litigation-staff@kusklaw.com distribution list on future emails.

Thanks,

Akiva


From: Andrew Brettler <abrettler@berkbrettler.com>
Sent: Monday, March 17, 2025 6:16 PM
To: Thomas Neville <tneville@kusklaw.com>
Cc: Dylan Schmeyer <dschmeyer@kusklaw.com>; Akiva Cohen <acohen@kusklaw.com>; Lane
Haygood <lhaygood@kusklaw.com>; mjelenchick@nprclaw.com <mjelenchick@nprclaw.com>;
michael@denvertriallawyers.com <michael@denvertriallawyers.com>; Lorraine@parkerlipman.com
<Lorraine@parkerlipman.com>; Dan@parkerlipman.com <Dan@parkerlipman.com>; Stephen E.
Kravit <kravit@kravitlaw.com>; Brian T. Fahl <btf@kravitlaw.com>; Gaiman
<Gaiman@kravitlaw.com>; Jake Camara <jcamara@berkbrettler.com>; Kai Alblinger
<kalblinger@berkbrettler.com>
Subject: Pavlovich v. Gaiman, W.D. Wis. Case No. 3:25-cv-00078-jdp

Dear Mr. Neville:

Please see the attached correspondence and pleading.

Sincerely,
Andrew B. Brettler | BERK BRETTLER LLP
9119 Sunset Blvd. | West Hollywood, CA 90069
   Case: 3:25-cv-00078-jdp      Document #: 29-3   Filed: 03/19/25   Page 2 of 2


O: +1.310.278.2111 | M: +1.917.620.2726
